Case 3:19-cv-00054-NKM-JCH Document 516 Filed 08/15/22 Page 1 of 2 Pageid#: 7956




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION



      KIERAN RAVI BHATTACHARYA,                          CASE NO. 3:19-cv-00054

                                            Plaintiff,
                            v.                           ORDER

      JAMES B. MURRAY, JR., et al.,
                                                         JUDGE NORMAN K. MOON
                                        Defendants.

                                         Order to Show Cause
          This Order pertains to the contents of Plaintiff Kieran Ravi Bhattacharya’s response to

  Defendants’ motion for summary judgment and his Motion to Compel. Dkt. 463, 495. After

  having been warned by this Court to strike improper details relating to Plaintiff’s ex-girlfriend

  from his proposed Second Amended Complaint,1 Plaintiff and his counsel have again included

  gratuitous details about that non-party’s personal and medical information in pleadings before

  this Court. What is more, Plaintiff and his counsel did not file their pleadings under seal—

  instead filing on the public-facing docket—despite the Protective Order in this case.

          The Protective Order, Dkt. 150, covers both the disclosure and use of confidential

  information in this case. It pertains to, inter alia, “any personal information, the disclosure of

  which could violate individual privacy rights,” which plainly covers a non-party’s sensitive

  health information.




  1
    See Dkt. 230 (Magistrate Judge Hoppe’s Report & Recommendation suggesting that this Court
  strike all details relating to a non-party from the Second Amended Complaint); Dkt. 324
  (memorandum opinion and order adopting the R&R).
                                                     1
Case 3:19-cv-00054-NKM-JCH Document 516 Filed 08/15/22 Page 2 of 2 Pageid#: 7957




         Fed. R. Civ. P. 11(b)(1) states that “[b]y presenting to the court a pleading, written

  motion, or other paper . . . an attorney or unrepresented party certifies to the best of the person’s

  knowledge, information, and belief, formed after an inquiry reasonable under the circumstances

  [that] . . . it is not being presented for any improper purpose, such as to harass[.]”

         Given Plaintiff and his counsel’s now-repeated, apparent attempts to embarrass a non-

  party witness through public pleadings in this case, their apparent disregard of the Protective

  Order, and their apparent disregard for this Court’s past admonitions on this issue, Plaintiff and

  his counsel are ordered to SHOW CAUSE by 5:00 p.m. on Friday, August 19, 2022 why this

  Court should not impose sanctions under Rule 11(c)(3). In addition, the motion to seal at Dkt.

  507 is hereby GRANTED, and the non-party’s counsel is invited to make a motion for costs and

  reasonable attorney’s fees pertaining to her motion to seal. The Court will not set a deadline for

  that motion at this time. The non-party may also respond to this Order by the same deadline as

  set for Plaintiff—5:00 pm. on Friday, August 19—if she so chooses.

         It is so ORDERED.

         The Clerk of Court is directed to deliver a copy of this Order to all counsel of record.

         Entered this 15th
                      ___ day of August 2022.




                                                     2
